                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      at WINCHESTER

 UNITED STATES OF AMERICA                      )
                                               )
 v.                                            )       Case No. 4:08-CR-41
                                               )
 VIOLET WILSON                                 )       MATTICE/CARTER


                                             ORDER

        On August 14, 2009, Magistrate Judge William B. Mitchell Carter filed a Report and

 Recommendation recommending (a) the Court accept Defendant Violet Wilson’s (“Defendant”)

 plea of guilty Count Seven of the Indictment, the lesser included offense of conspiracy to

 distribute and possess with intent to distribute a mixture or substance containing a detectable

 amount of cocaine base (also known as “crack”) in violation of 21 U.S.C. §§ 846 and

 841(b)(1)(C), (b) the Court adjudicate Defendant guilty of the charges set forth in Count Seven of

 the Indictment, the lesser included offense of conspiracy to distribute and possess with intent to

 distribute a mixture or substance containing a detectable amount of cocaine base (also known as

 “crack”) in violation of 21 U.S.C. §§ 846 and 841(b)(1)(C); and (c) Defendant shall remain in

 custody pending sentencing in this matter (Doc. 106). Neither party filed an objection within the

 given ten days. After reviewing the record, the Court agrees with the magistrate judge’s report

 and recommendation. Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s

 report and recommendation (Doc. 106) pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as

 follows:

        (1) Defendant’s plea of guilty to Count Seven of the Indictment, the lesser included

 offense of conspiracy to distribute and possess with intent to distribute a mixture or substance

 containing a detectable amount of cocaine base (also known as “crack”) in violation of 21 U.S.C.


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 §§ 846 and 841(b)(1)(C) is ACCEPTED;

        (2) Defendant is hereby ADJUDGED guilty of the charges set forth in Count Seven of

 the Indictment, the lesser included offense of conspiracy to distribute and possess with intent to

 distribute a mixture or substance containing a detectable amount of cocaine base (also known as

 “crack”) in violation of 21 U.S.C. §§ 846 and 841(b)(1)(C); and

        (3) Defendant SHALL REMAIN IN CUSTODY pending sentencing on Monday,

 November 16, 2009, at 9:00 am.

        SO ORDERED.

        ENTER:


                                                            /s/Harry S. Mattice, Jr.
                                                            HARRY S. MATTICE, JR.
                                                       UNITED STATES DISTRICT JUDGE




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